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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

JAMES CRUM,                                )
                                           )
       Petitioner,                         )
                                           )
v.                                         ) Case No. 2:21-cv-1240-AMM-GMB
                                           )
STATE OF ALABAMA,                          )
                                           )
       Respondent.                         )

                           MEMORANDUM OPINION
      The magistrate judge entered a report on October 15, 2021, recommending

that this petition for a writ of habeas corpus, filed pursuant to 28 U.S.C. § 2241, be

dismissed without prejudice for failure to prosecute. Doc. 3. On October 27, 2021,

Petitioner James Crum moved for an extension of time, Doc. 4, to respond to the

court’s September 22, 2021 order to file an amended petition, Doc. 2. The court

construed Mr. Crum’s motion for extension as an objection to the report and

recommendation, granted the motion, and ordered Mr. Crum to file an amended

petition on or before November 22, 2021. Doc. 5. Mr. Crum has failed to do so.

      Having carefully reviewed and considered de novo all of the materials in the

court file, including the report and recommendation, the court ADOPTS the

magistrate judge’s report and ACCEPTS his recommendation. Accordingly, Mr.
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Crum’s petition is dismissed without prejudice for failure to prosecute. A separate

order will be entered.


      DONE and ORDERED this 2nd day of December, 2021.



                                   _________________________________
                                   ANNA M. MANASCO
                                   UNITED STATES DISTRICT JUDGE




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